                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                         CHATTANOOGA DIVISION
                                  )
 LENARD WIGFALL,                  )
                                  )
      Plaintiff,                  )
                                  )        NO. 1:11-cv-00291
 v.                               )
                                  )        JURY DEMANDED
 HEALTHCARE SERVICES GROUP, )
 INC.                             )
                                  )
      Defendant.                  )
                                  )


          STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
 ______________________________________________________________________________

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties hereby stipulate

 that the above captioned case has been resolved and is voluntarily dismissed with prejudice

 against the Defendant, Healthcare Services Group, Inc.


    AGREED:

    GILBERT RUSSELL McWHERTER PLC

    /s Justin S. Gilbert_______________________
    Justin S. Gilbert (TN Bar No. 017079)
    Republic Centre/ 633 Chestnut St, Suite 600
    Chattanooga, TN 37450
    Telephone: 731-664-1340
    Facsimile: 731-664-1540
    jgilbert@gilbertfirm.com

    Jonathan L. Bobbitt (TN Bar No. 23515)
    101 North Highland Ave
    Jackson, TN 38301
    Telephone: 731-664-1340
    Facsimile: 731-664-1540
    jbobbitt@gilbertfirm.com

    ATTORNEYS FOR PLAINTIFF


Case 1:11-cv-00291-HSM-WBC Document 14 Filed 12/30/11 Page 1 of 2 PageID #: 41
    s/ Kenneth D. Kleinman____________
    Kenneth D. Kleinman, Esquire
    Stevens & Lee, PC
    1818 Market Street, 29th Floor
    Philadelphia, PA 19103
    Telephone: 215-751-1946
    kdk@stevenslee.com

    Rosemary L. Hill, Esquire
    Chambliss, Bahner & Stophel, PC
    1000 Tallan Building │Two Union Square
    Chattanooga, TN 37402
    Telephone: 423-757-0242
    rhill@cbslawfirm.com


    ATTORNEYS FOR DEFENDANT


                                   CERTIFICATE OF SERVICE

        I, the undersigned, do hereby certify that a true and exact copy of the foregoing has been
 mailed electronically via the Court electronic filing system, to the following on this the 30th day
 of December, 2011:

 Kenneth D. Kleinman, Esquire
 Stevens & Lee, PC
 1818 Market Street, 29th Floor
 Philadelphia, PA 19103

 Rosemary L. Hill, Esquire
 Chambliss, Bahner & Stophel, PC
 1000 Tallan Building │Two Union Square
 Chattanooga, TN 37402


                                                             /s Justin S. Gilbert_____________




Case 1:11-cv-00291-HSM-WBC Document 14 Filed 12/30/11 Page 2 of 2 PageID #: 42
